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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOHN COREY FRASER,
et al.
Plaintiffs,
Vv. Civil Action No. 3:22cv410
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES,
et al.,

Defendants.

MEMORANDUM OPINION

This matter is before the Court on PLAINTIFFS’ MOTION FOR
CLASS CERTIFICATION (“the Class Certification Motion”) (ECF No.
56), PLAINTIFFS’ SECOND MEMORANDUM OF LAW IN SUPPORT OF CLASS
CERTIFICATION (“Memo in Supp. of Class Cert.”) (ECF No. 69),
DEFENDANTS’ SECOND OPPOSITION TO PLANTIFFS’ [sic] MOTION FOR CLASS
CERTIFICATION (“Opp. to Class Cert.”) (ECF No. 70), and PLAINTIFFS’
REPLY TO DEFENDANTS’ SUPPLEMENTAL RESPONSE IN OPPOSITION TO CLASS

CERTIFICATION (“Class Cert. Reply”) (ECF No. 71).1 For the reasons

1 In support of the Class Certification Motion, the Plaintiffs filed PLAINTIFFS’
MEMORANDUM OF LAW IN SUPPORT OF CLASS CERTIFICATION (ECF No. 58), the Defendants
responded with DEFENDANTS’ OPPOSITION TO PLANTIFFS’ [sic] MOTION FOR CLASS
CERTIFICATION {ECF No. 61), and the Plaintiffs replied with PLAINTIFFS’ REPLY
TO THE DEFENDANTS’ RESPONSE IN OPPOSITION TO CLASS CERTIFICATION (ECF No. 64).
Unfortunately, those supporting, opposing, and reply briefs did not adequately
address the class certification issues so the parties were required to replace
those briefs with amended briefs that addressed the relevant issues. ORDER (ECF
No. 68). The amended briefs (ECF Nos. 69, 70, and 71) are the only ones
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set forth below, PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION (ECF

No. 56) will be granted.

BACKGROUND

This case is a constitutional challenge under the Second
Amendment of the Constitution of the United States to an
interlocking collection of federal laws and regulations that
prevent 18-to-21-year-olds from purchasing handguns from
federally-licensed firearms dealers (“FFLs”). MEMORANDUM OPINION
at 4 (ECF No. 47). Plaintiffs are all men over the age of 18 but
under the age of 21. Id. at 2; see also FIRST AMENDED COMPLAINT
("FAC") at JQ 41-44 (ECF No. 18). Aside from their age, they are
all otherwise qualified to purchase handguns. FAC q 49. The
Defendants (the “Government”) do not dispute that assertion.

Plaintiffs originally filed this action in June 2022 and then
filed the FAC in November 2022. MEMORANDUM OPINION at 3. In
November 2022, the Government filed DEFENDANTS’ MOTION TO DISMISS
PLAINTIFFS’ FIRST AMENDED COMPLAINT (“Motion to Dismiss”) (ECF No.
21) and, in December 2022, Plaintiffs filed PLAINTIFFS’ MOTION FOR
SUMMARY JUDGMENT (“Motion for Summary Judgment”) (ECF No. 28). The
Court held oral argument on the two motions on February 8, 2023.

Minute Entry February 8, 2023 (ECF No. 37). On May 10, 2023, an

considered.
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ORDER (ECF No. 48) and accompanying MEMORANDUM OPINION (ECF No.
47) were entered denying the Motion to Dismiss and granting the
Motion for Summary Judgment. In the MEMORANDUM OPINION, the Court,

applying the mode of analysis specified in New York State Rifle &

Pistol Associations, Inc. v. Bruen, 142 S.Ct. 2111 (2021),

concluded that, ‘“[b]lecause the statutes and regulations in
question are not consistent with our Nation’s history and
tradition, they, therefore, cannot stand.” MEMORANDUM OPINION at
6S.

The parties were directed to meet and confer on how best to
proceed in this matter. MAY 10, 2023 ORDER (ECF No. 49).
Unfortunately, the parties filed a joint status report informing
the Court that they “do not agree on how to proceed.” JOINT REPORT
ON CLASS CERTIFICATION at 2 (ECF No. 52).2 On May 22, 2023
Plaintiffs filed the Class Certification Motion which, following

the amended briefing and argument, is now ripe for decision.?

2 On May 18, 2023 Plaintiffs filed PLAINTIFFS’ AND PROPOSED PLAINTIFF’S MOTION
TO ADD JUSTIN FRASER AS PLAINTIFF OR GRANT INTERVENTION (ECF No. S0) and the
Government filed DEFENDANTS’ MOTION FOR ENTRY OF JUDGMENT IN A SEPARATE ORDER
(ECF No. 53). These motions are addressed in separate opinions and orders.

3 They also filed PLAINTIFFS’ MOTION FOR DECLARATORY JUDGMENT AND INJUNCTION
(ECF No. 57). And, on June 2, 2023, the Government filed DEFENDANTS’ MOTION FOR
A STAY OF INJUNCTION PENDING APPEAL (ECF No. 63). These motions are addressed
in separate Memorandum Opinions. On August 24, 2023, PLAINTIFFS’ AND PROPOSED
PLAINTIFF’S MOTION TO ADD JUSTIN FRASER AS PLAINTIFF OR GRANT INTERVENTION (ECF
No. 50) was granted. See MEMORANDUM OPINION (ECF No. 72); ORDER (ECF No. 73).

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DISCUSSION

The Class Certification Motion requests certification of the
following, nationwide class, pursuant to Fed. R. Civ. P. 23(b) (2):

Natural persons and citizens of the United States of

America who have attained the age of eighteen but who

are not yet twenty-one and who have not been convicted

of a felony, who are not fugitives from justice, have

not been discharged from the Armed Forces under

dishonorable conditions, are not unlawful users of or

addicted to any controlled substances, have not been

adjudicated as mental defectives or committed to a

mental institution, are not on parole or probation, are

not under indictment or restraint.
PLAINTIFFS’ SECOND MEMORANDUM OF LAW IN SUPPORT OF CLASS
CERTIFICATION (“Memo in Supp. of Class Cert.”) a 1-2, 9 (ECF No.
69).4 The Government opposes class certification because: (1) it
is “violates the rule against one-way intervention”’;5 (2) the
Plaintiffs have not established the requisites of Rule 23{a);® (3)

certification is not appropriate under Rule 23(b)(1), (b) (2), or

(b) (3);7 and (4) class certification would prevent other courts

4 Plaintiffs state that class certification may be proper under any of the three
permissible avenues under Fed. R. Civ. P. 23(b) but that Fed. R. Civ. P. 23(b) (2)
“is the most appropriate avenue of the three options for certification.” Memo.
in Supp. of Class Cert. at 9. The Court agrees and grants class certification
under this provision. Thus, it is unnecessary to determine whether class
certification is appropriate.

5 DEFENDANTS’ SECOND OPPOSITION TO PLANTIFFS’ [sic] MOTION FOR CLASS
CERTIFICATION (“Opp. to Class Cert.”) at 1 (ECF No. 70).

* Id. at 6-7.

7 Id. at 7-11.
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from considering the merits of cases involving the same substantive

issues.® Each argument will be considered in turn.

1. One-Way Intervention/Timeliness

The Government’s first reason for opposing class
certification is that “the motion violates the rule against one-
way intervention because it seeks class certification after
summary judgment has already been entered in favor of Plaintiffs.”?
This argument, on this record, lacks any merit.

“The rule against one-way intervention prevents plaintiffs
from moving for class certification after acquiring a favorable

ruling on the merits of a claim.” Costello v. BeavEx, Inc., 810

F.3d 1045, 1057 (7th Cir. 2016); see also Am. Pipe & Const. Co. v.

Utah, 414 U.S. 538, 547 (1974). Formerly, that practice “aroused
considerable criticism upon the ground that it was unfair to allow
members of a class to benefit from a favorable judgment without
subjecting themselves to the binding effect of an unfavorable one.”

Am. Pipe & Const. Co., 414 U.S. at 547. And, in 1966, Fed. R. Civ.

P. 23 was amended “specifically to mend this perceived defect in
the former Rule and to assure that members of the class would be

identified before trial on the merits and would be bound by all

8 Opp. to Class Cert. at 11-14.

S39 Id. at 1, 2-6.
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subsequent orders and judgment.” Id.; see also Fed. R. Civ. P. 23

Notes of Advisory Committee on Rules - 1966. However, Fed. R. Civ.
P. 23 was again amended in 2003. Though that amendment “does not
restore the practice of ‘one-way intervention,’‘” it allows
district courts considerable discretion in determining the proper
timing of class certification. Fed. R. Civ. P. 23 Notes of Advisory

Committee on Rules - 2003; In re Zetia (Ezetimibe) Antitrust

Litig., No. 2:18-MD-2836, 2021 WL 9870367, at *4 (E.D. Va. May 7,
2021) .19

Thus, for example, under the current law, district courts now
have “discretion to decide the question of summary judgment before

reaching the issue of class certification.” Ginwright v. Exeter

Fin. Corp., 280 F.Supp.3d 674, 679 (D. Md. 2017). Indeed, in some
cases, “[a]n early decision on the merits may protect both parties
and the court from needless expenditure of both time and money.”

White v. Bank of Am., N.A., No. CIV. CCB-10-1183, 2012 WL 1067657,

at *4 (D. Md. Mar. 27, 2012). But, courts “generally exercise that
discretion only when a defendant consents to the procedure or
otherwise waives their objection to a pre-notification ruling.” In

re Zetia (Ezetimibe) Antitrust Litigation, 2021 WL 9870367, at *4

10 Concerns about one-way intervention are less salient when a mandatory class

is certified pursuant to Fed. R. Civ. P. 23(b)(2) because class members have no

ability to opt-out or to engage in any form of gamesmanship. Wal-Mart Stores,

Inc. v. Dukes, 564 U.S. 338, 362 (2011) (Rule 23(b) (2) classes are “mandatory” ).
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(quoting Darrington v. Assessment Recovery of Wash., LLC, No. 13-

cv-0286, 2014 WL3858363, at *4 (W.D. Wash. Aug. 5, 2014)).

The Government argues that the Class Certification Motion is
untimely filed because it was not filed before the Court ruled on
the Motion to Dismiss and the Motion for Summary Judgment. In other
words, the one-way intervention argument serves as the predicate
for the Government’s objection to the timeliness of the Class
Certification Motion (i.e., because the motion was “made after
summary judgment has already been entered in favor of Plaintiffs”).

Fed. R. Civ. P. 23(c)(1)(A) governs the timing of motions for
class certification. It provides: “At an early practicable time
after a person sues or is sued as a class representative, the court
must determine by order whether to certify the action as a class
action.”

From the beginning, Plaintiffs made clear their intention to
prosecute this case as a class action. COMPLAINT (ECF No. 1); FIRST
AMENDED COMPLAINT (ECF No. 18). And, with full knowledge of that
fact, the parties agreed to a procedure and a schedule that
presented what each side considered to be a dispositive motion?

without ever mentioning class certification. See NOV. 17, 2022

11 See DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT (ECF
No. 21) and PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT (ECF No. 28).

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ORDER (ECF No. 19). The parties agreed that no discovery was
necessary in the case and that the Court should immediately decide
the underlying merits of the case by deciding their respective
dispositive motions. At no point did the Government raise concerns
about the propriety of moving forward in that fashion before the
Court had made a decision on class certification.

By agreeing to proceed as it did, by filing its Motion to
Dismiss (a dipositive motion), and by responding to the Motion for
Summary Judgment (also a dispositive motion) without even
mentioning that class certification should be addressed before the
dispositive motions, the Government “has waived the procedural
safeguards of Rule 23, limiting the possible impropriety of an
early decision on the merits.” White, 2012 WL 1067657, at *4;1? see

also Lord v. Senex L., P.C., No. 7:20-CV-00541, 2023 WL 3727003,

at *2 n.2 (W.D. Va. May 30, 2023); Schafer v. Allied Interstate

LLC, No. 1:17-CV-233, 2020 WL 4457922, at *8 (W.D. Mich. Aug. 2,
2020).

The Class Certification Motion was timely made in accord with

12 Prankly, the Government's timeliness argument tests the limits of Fed. R.
Civ. P. 11. If the Government truly was concerned about the timing of class
certification, it should not have agreed to proceed as it did. One would think
that counsel would have realized that the agreement to proceed first with
dispositive motions necessarily meant deferring the class certification process
until after the dispositive motions were decided. To argue otherwise, on this
record, is meritless and wasteful of judicial resources.

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the procedure to which both parties agreed which assured that
dispositive motions would proceed to decision before the filing of
the Class Certification Motion. Moreover, not one fact in the
record of this case suggests the presence of “one-way intervention”
tactics. Nothing suggests that the Government was prejudiced in
any way. And, indeed the Government points to no tactical advantage
that the Plaintiffs secured, or that the Government lost, because
of the timing of the Class Certification Motion. The record
disclosed none. The Court declines the Government’s invitation to
put form over substance and will consider the Class Certification
Motion on its merits.

2. Rule 23 (b) (2)

Plaintiffs seek class certification under Rule 23(b) (2)?
which authorizes class actions when all the prerequisites of Rule
23(a) have been met and “'the party opposing the class has acted
or refused to act on grounds that apply generally to the class, so

that final injunctive relief or corresponding declaratory relief

is appropriate respecting the class as a whole.’” 2 Newberg and
Rubenstein on Class Actions, § 4:26 (6th ed.) (June 2023)
(hereafter cited as “2 Newberg and Rubenstein, § ") (quoting

3° Plaintiffs also say that class certification is appropriate under Rules
23(b) (1) and (b) (3). Memo. in Supp. of Class Cert. at 9-11, 12-13(ECF No. 69).
However, it is not necessary to consider whether the requirements of those rules
are satisfied because certification is authorized by Rule 23(b) (2).

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Fed. R. Civ. P. 23(b)(2)). As the Supreme Court of the United

States has explained:

The key to the (b) (2) class is the indivisible
nature of the injunctive or declaratory remedy
warranted—the notion that the conduct is such
that it can be enjoined or declared only as to
all of the class members or as to none of them.

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011) (citation

and quotation marks omitted). In other words, Rule 23(b) (2) applies
only when a single injunction or declaratory judgment would provide
relief to each member of the class. As the treatise explains, Rule
23(b) (2) classes are required to have a particular cohesion and,
because the rule authorizes class certification only in situations
affecting the class as a whole and calling for either the same
injunctive or declaratory relief as to the class, “unitary
adjudication is not only preferable, but it is also essential." 2
Newberg and Rubenstein, § 4:26.

Rule 23(b)(2) class certification is considered to be most
useful in civil rights and constitutional cases, particularly
those in which an individual plaintiff may change status during
the pendency of the action (at trial or on appeal) in which case
the case could become moot and thus risk dismissal.

The first component of Rule 23(b) (2) is sometimes referred to
as “the act requirement” which focuses on the defendant and asks

whether the defendant has acted (or not) in a way that affects

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everyone in the proposed class in a similar fashion. 2 Newburg and
Rubenstein, § 4:28. The “act requirement” is directed to an
objective question: whether the proposed class consists of people
affected by the defendants’ challenged conduct policy.
Certification of a class under Rule 23(b) (2) is appropriate
even if not all class members may have suffered the injury
presented in the class complaint so long as the challenged policy
or practice was generally applicable to those in the class as a
whole. 2 Newberg and Rubenstein, § 4:28. And the same is true even
if not all members of the class were aggrieved by, or want to

challenge, the defendants’ conduct. J.D. v. Nagin, 255 F.R.D. 406,

416 (E.D. La. 2009); see also M.D. ex rel Stukenberg v. Perry, 675

F.3d 382, 847-48 (5th Cir. 2012). That is because the subjective
question whether all members of the class are interested in
challenging the policy is simply irrelevant to the analysis of
whether the class fits within Rule 23(b)(2). In other words,
“internal disagreement among class members as to the aims of the
litigation is largely irrelevant to one class member’s right to
pursue a challenge to a policy alleged to be illegal.” 2 Newberg
and Rubenstein, § 4:28.

This case fits precisely within the requirements of Rule
23 (b) (2)'s act requirement. The specifically identified challenged

statute and rules apply across the board to all members of the

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proposed class. Therefore, the conduct and policy is “generally
applicable to those in the class as a whole.” Contrary to the
Government's argument, it is irrelevant to the act requirement
analysis that some 18-to-21-year-olds may not want to buy a handgun
or may not be opposed to the challenged statute and regulations.
It is “immaterial that some members of the class favored a
particular ordinance or opposed the action or were antagonistic

toward [the named] plaintiff." 7A Wright & Miller, Federal Practice

& Procedure, § 1771 (4th ed.) (April 2021). Thus, even if a class

member may not want the “relief” sought by the class, that member
is still bound as a member of that class and counted as part of
the class.

The same is true for the Government’s argument that members
of the class may not wish to purchase a gun and thus would not
have standing. In class actions prosecuted under Rule 23(b) (2),
“the standing inquiry focuses on the class representatives, not

the absent class members.” 1 Newberg and Rubenstein, § 2:3;1%4

4 It is true that recently opinions and commentators have expressed doubts
about this long-standing principle. TransUnion LLC v. Ramierez, 141 S. Ct.
2190, 2208 n.4 (2021) (“We do not here address the distinct question whether
every class member must demonstrate standing before a court certifies a class”).
Further, Ramierez involved a claim for money damages and was certified under
Rule 23(b) (3). Ramierez v. TransUnion, LLC, 301 F.R.D. 408, 420 (N.D. Ca. 2014).
In TransUnion, the record showed that some class members had suffered no
damages. Here, the class all suffered the same injury (deprivation of a
constitutional right) and certification is sought under Rule 23(b)(2). See
Zachary D. Clopton, National Injunctions and Preclusion, 118 Mich. L. Rev. 1,
36 n.214 (2019).

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Carolina Youth Action Proj.; D.S. by & through Ford v. Wilson, 60

F.4th 770, 778-79 (4th Cir. 2023). And, as the Court has already
found, the named class representatives have standing. MEMORANDUM
OPINION at 6-12 (ECF No. 47) .15

The second requirement of Rule 23(b) (2) is the often called
“injunctive or declaratory relief requirement.” That aspect of the
rule requires that the requested relief (i) be final; (ii) be
either injunctive or declaratory; and (iii) be appropriate to the
class as a whole. Because the relief must be appropriate to the
class as a whole, the Supreme Court has explained that “Rule
23(b) (2) applies only when a single injunction or a declaratory
judgment would provide relief to each member of the class.” Wal-

Mart Stores, Inc., 564 U.S. at 360.

This case also fits the “injunctive or declaratory relief”
requirement. The order granting summary judgment to Plaintiffs
will be final when issued and it will award final judgment to the
Plaintiffs on their Second Amendment claim. The relief to be
granted in the final judgment order, whether injunctive,
declaratory, or declaratory and injunctive, will apply to every

member of the class in exactly the same way so that “a single

18 Here too, as with the Government's timeliness contention, the “may be opposed”
and “may not want to buy” argument are quite contrary to established legal
principles.

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injunction or declaratory judgment would provide relief to each

member of the class.” Wal-Mart Stores, Inc., 564 U.S. at 360.

The Government's Opposition to Class Certification (ECF No.
70) scarcely addresses the requirements of Rule 23(b) (2). And,
when it does, there is no mention of Rule 23(b)(2)'s act
requirement. That, of course, is a concession that, as the
Plaintiffs argue, the act requirement is satisfied. And, indeed,
as explained above, it is.

Instead, the Government rests its case on the single
injunction or declaration requirement. Specifically, the

Government’s argument is that:

But a single injunction or declaratory
judgment would not necessarily provide relief
to all of the proposed class members in this
case, As mentioned above, many states have
laws that separately prevent 18-to-20 year
olds from purchasing or possessing certain
kinds of firearms. So an injunction or
declaratory judgment would not provide any
relief to members of the putative class _ in
those states because they would still be
barred from purchasing handguns. At an
absolute minimum, the interactions between
other states’ laws and the federal laws at
issue precludes the certification of any class
extending beyond the Commonwealth of Virginia.

Opp. to Class Cert. at 9 (emphasis added).
That argument fails because the claim in this case is
addressed to whether federal law violates the class rights under

the federal Constitution. If, indeed, the federal rights of the

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class are violated, declaratory or injunctive relief will redress
that violation wholly apart from whatever state laws may provide.
And, that satisfies the injunctive or declaratory relief
requirement of Rule 23(b) (2).

To sum up, by prohibiting 18-to-21-year-olds from purchasing
arms from FFLs, the Government “acted on grounds applicable to the
class.” Under Rule 23(b) (2), “{a]etion or inaction is directed to
a class. . . even if it has taken effect or is threatened only as
to one or a few members of the class, provided it is based on
grounds which have general application to the class.” Fed. R. Civ.
P. 23, Notes of Advisory Committee on Rules - 1966 Amendment. And,
a single final injunction or declaratory order will provide relief
for the class as a whole. Therefore, Plaintiffs have met the
requisites for certification of a class under Rule 23(b) (2).

3. Rule 23 (a)

There remains the question whether they have satisfied the
requirements of Fed. R. Civ. P. 23(a). Rule 23(a) outlines four
requirements for class action certification: (1) numerosity; (2)
common questions of law and fact; (3) typicality of claims and
defense; and (4) fair and adequate representation by
representative parties. And, for certification to be proper,
Plaintiffs, even if they have satisfied Rule 23(b) (2), must meet

each of these four criteria. The Fourth Circuit also has held that

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Rule 23 contains an “implicit threshold requirement” that the

proposed class is “readily identifiable.” EQT Prod. Co. v. Adair,

764 F.3d 347, 358 (4th Cir. 2014) (citation and quotation marks
omitted). This is known as the “ascertainability requirement.” Id.
If that requirement is met, the Court then must find that the other
four requirements of Rule 23(a) are met. Id. at 365.

A. Ascertainability

In the Government's view, the proposed class is not

ascertainable because it “is constantly in flux.” Opp. To Class

Cert. at 10 (ECF No. 70) (emphasis added). That is because
individuals daily age in and out of the group, become felons or
otherwise fall into a prohibited category. Id. at 10-11. And, so
according to the Government, “[t]his constant coming and going of
class members is unmanageable as a practical matter.” Id. at 11.

The Government’s ascertainability view is also based on the
related assertion that:

[t]he proposed class definition is also overbroad in

that it includes a large number of individuals who meet

the criteria but do not want to purchase a_handgun.

These individuals likely would not have standing to

pursue the claims raised in this case. Indeed, many

individuals may affirmatively disavow the rights that
the named Plaintiffs are seeking to protect.

Opp. to Class Cert. at 11 (emphasis added).

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As explained above,/* it is immaterial in the Rule 23(b) (2)
analysis that some class members may not agree with, or may oppose,
the constitutional claims so long as the challenged conduct applies
generally to the class. And, here it does. The Government does
not explain why a different principle applies in assessing
ascertainability. Moreover, the “may not want to purchase”
argument really has nothing to do with ascertainability and the
Government does not explain why it thinks there is a connection
except to argue that those who do not want to purchase might not
have standing. That point, as discussed above, is not relevant.

Supra at 11-12; Carolina Youth Action Proj.; D.S. by & through

Ford v. Wilson, 60 F.4th 770, 778-79 (4th Cir. 2023).

It is no doubt true, as Hirschfeld v. Bureau of Alcohol,

Firearms, & Tobacco, 5 F.4th 407 (4th Cir. 2021), vacated as moot

by, 14 F.4th 322 (4th Cir. 2021) (a substantially similar challenge
to the statute and regulations at issue here) shows, that persons
can age in and out of the class over the time before final decision
is reached. But, that is not relevant because Rule 23(b) (2) was
put in place, in part, to address class treatment under such

situations. 2 Newburg and Rubenstein § 4:26; Rules Advisory

6 Supra at 11-12.
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Committee Notes, 39 F.R.D. 69, 102 (1966); Gayle v. Warden Monmouth

Cnty. Correctional Inst., 838 F.3d 297, 311 (3d Cir. 2016).

In any event, the Government's concerns are misplaced. The
“ascertainability” requirement simply demands that “members of a
proposed class be readily identifiable. . . in reference to

objective criteria.” EQT Production Co., 764 F.3d at 358 (quotation

marks and citation omitted). Plaintiffs are not required “to
identify every class member at the time of certification.” Id. As
long as it is “administratively feasible for the court to determine
whether a particular individual is a member” of the class, the

ascertainability element is met. Id. (quoting 7A Wright & Miller,

Federal Practice & Procedure, § 1760 (3d ed. 2005)). The

ascertainability requirement only necessitates that the Court can
readily identify whether putative class members are members of a
class. It does not necessitate that the Court, or the Plaintiffs,
go out and find each and every class member before a class can be
certified.

Of course, Rule 23(b) (2) does not afford members the right to
opt-out so notice of such a right is not required in a class action
certified under Rule 23(b) (2). 2 Newberg and Rubenstein, § 4:33.
Therefore, the ascertainability requirement is not as significant
in a Rule 23(b) (2) class as in class actions in which class notice

is required so that putative members can opt-out. However, class

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members are entitled to notice of settlement and requests for
attorneys’ fees. 2 Newberg and Rubenstein, § 4:34. Thus,
ascertainability remains a factor with which reckoning is
necessary. Notice, when required, is, of course, that which is the
best practicable. And, it would seem that, in a situation such as
presented here, adequate notice of settlement or a request for
attorneys’ fees could be given by appropriate media publication
with a national reach. Nonetheless, the ability to identify class
members is still a matter to be assessed.

Here, determining who is and is not a member of the class can
be ascertained when that becomes necessary. First, the class
includes Americans between the ages of 18-to-21l-years. As store
clerks, bartenders, and restaurant servers across the country do
thousands of times a day, the age of an individual can be easily
and quickly determined by an identification (“ID”) check. There is
no reason why a standard ID check could not be employed in the
judicial process following class certification, when that becomes
necessary.

As to the defined exceptions from the class, each tracks one
of the provisions of 18 U.S.C. § 922(g), which specify the
individuals who are under disabilities that prohibit them from
purchasing firearms under federal law. Each time a Federal Firearm

License dealer sells a firearm, the dealer is required to determine

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whether an individual falls within one of these categories. 18
U.S.C. § 922(b)-(d). The record supplies no reason to believe that
the same cannot be done in the judicial process following class
certification when that becomes necessary.

Thus, the “ascertainability” facet of Rule 23(a) is met in
this case.

B. Numerosity

Plaintiffs must show that “the class is so numerous that
joinder of all members is impracticable.” Fed. R. Civ. P. 23(a) (1);

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 345 (2011). Though

Plaintiffs do not provide the Court with the actual class size,
Memo. in Supp. of Class Cert. at 6, the Court finds that “joinder.

is impracticable.” There are over 350,000 individuals in that
category between the age of 18-to-21 in Virginia alone. U.S.
Census, DPOS -- ACS DEMOGRAPHIC AND HOUSING ESTIMATES (Virginia) ;

see also Harris v. Rainey, 299 F.R.D. 486, 490 (W.D. Va. 2014)

(finding that Plaintiffs may meet the numerosity requirement based
on United States Census data). The record suggests that nationally
the class may approximate some ten million Americans between the
ages of 18 to 21. Of course, some of these individuals fall within
§ 922(g)’s other prohibitions on handgun ownership, but there is
no real doubt that joinder of all individuals in the class is

impracticable and the numerosity requirement is met.

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The Government’s numerosity argument really boils down to a
reprise of the already rejected contention that some of the people
in the class might not “want to purchase a handgun” and others
“may choose to lawfully obtain a handgun as a gift from their
parents or guardians.” Opp. to Class Cert. at 6. These people,
say the Government, would not have standing. This apparently is
thought somehow to render the claim sufficiently small to preclude
a finding that numerosity is met. Apart from the fact that the
standing argument and the “may not want to buy” argument have been
rejected, those arguments just make no sense in the context of a
numerosity assessment. Hence, they warrant no further analysis.

On this record, Plaintiffs have satisfied the numerosity
requirement of Rule 23(a).

Cc. Common Questions and Typicality

Plaintiffs must show that “there are questions of law or fact
common to the class,” Fed. R. Civ. P. 23(a)(2), and that “the
claims or defenses of the representative parties are typical of
the claims or defenses of the class,” Fed. R. Civ. P. 23(a) (3);

Wal-Mart Stores, Inc., 564 U.S. at 345. The case involves one basic

constitutional issue that governs the rights, inter alia, of all

members of the proposed class. It is difficult to comprehend a

better fit for commonality and typicality.

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The Government points to two reasons why these factors are
not met. First, the Government argues that: “there are questions
of standing that are particular to each individual.” Opp. to Class
Cert. at 7. The standing twist is in three parts: “[i] does the
individual wish to purchase a handgun, [ii] has the individual
already tried to purchase a handgun from an FFL and been denied,
[iii] can the individual lawfully obtain a handgun another way,
etc.” Id. Ground [i] is not a standing argument. Rather, it is
a reprise of the previously rejected “may not want to buy” theory.
Supra, at 11-12. That notion has no more merit in this context.
Grounds [ii] and [iii] were rejected in the MEMORANDUM OPINION at
8-10, 11-12 (ECF No. 47) and are likewise rejected on this go
around.

Second, the Government argues that some states have separate
laws preventing 18-to-21-years olds from purchasing guns. Opp. to
Class Cert. at 7. Apparently, the Government thinks that somehow
defeats findings of commonality and typicality. It is no doubt
true that some states prohibit purchase or possession of handguns
by 18-21 year olds, but the legal issues and the relief requested
in this case has nothing to do with state laws. This case only
concerns the application of the challenged federal laws and
regulations. Thus, the typicality and commonality requisites of

Rule 23(a) are met.

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D. Fair and Adequate Representation
Plaintiffs must show that “the representative parties will
fairly and adequately protect the interests of the class.” Fed. R.

Civ. P. 23(a) (4); Wal-Mart Stores, Inc., 564 U.S. at 345. “The

adequacy inquiry under Rule 23(a) (4) serves to uncover conflicts
of interest between named parties and the class they seek to

represent.” Carolina Youth Action Proj.; D.S. by & through Ford v.

Wilson, 60 F.4th 770, 780 (4th Cir. 2023) (quoting Amchem Prods.,

Inc. v. Windsor, 521 U.S. 591, 625 (1997)). The Government makes

no argument that the named Plaintiffs would not fairly or
adequately represent the parties and the Court finds no reason why

they would not. Thus, this element is satisfied.

4. The Government’s Nationwide Injunction Argument

The Government’s concluding argument against the grant of the
Class Certification Motion is that certification of a nationwide
class would necessitate a nationwide injunction which “would
prevent other courts from considering the important issues
involved in this case in the same way that a nationwide injunction
would.” Gov. Opp. to Class Cert. at 11 (ECF No. 70). The rest of
the Government’s brief on this point is devoted to the emerging
criticism against nationwide injunctions.

There is no categorical rule against nationwide classes and

“[nlothing in Rule 23. . . limits the geographic scope of a class

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action.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979). But, “when

asked to certify a nationwide class,” courts “should take care to
ensure that nationwide relief is indeed appropriate in the case
before it, and that certification of such a class would not
improperly interfere with the litigation of similar issues in other
judicial districts.” Id.

To begin, the Government’s argument on this point erroneously
conflates the Rule 23(b)(2) analysis as to whether a case can
proceed as a class action under that rule with the question whether
an injunction can, or should, be awarded under the legal principles
that apply to that issue.

Of course, Rule 23(b) (2) does require a court to determine
whether the “injunctive relief or corresponding declaratory
relief” would provide redress for the class affected by the act
taken or withheld as to the class. However, contrary to the
Government’s argument, that requirement does not equate the
certification of a Rule 23(b)(2) class with the granting of a
nationwide injunction. Instead, the possibility of injunctive
relief is one of the possible remedies to be considered in deciding
whether the certification requirements of that subsection of Rule

23 are met.?’

17 The rule actually uses the text “injunctive relief or corresponding
declaratory relief.” (emphasis added).
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The mere possibility of a nationwide injunction does not, as
the Government would have it, weigh against certification of a
nationwide class. In fact, the Government's analytical approach
would frustrate the operation of Rule 23(b)(2) by forbidding its
application anytime a nationwide class would provide relief to the
class as a whole. In the end, the availability of the injunctive
relief, as an alternative to, or in addition to, declaratory
relief, is simply a different question than whether injunctive
relief should be granted, either as the only remedy or along with
a declaratory judgment.

As the Government correctly points out, national injunctions
have been the subject of increasing criticism from members of the
judiciary and legal scholars. Justice Thomas, for example, has
condemned nationwide injunctions as beyond the power of district

courts and as impeding the development of the law. Trump v. Hawaii,

138 S.Ct. 2392, 2424-25 (2018) (Thomas, J. concurring); see also

Dept. of Homeland Sec. v. New York, 140 S.Ct. 599, 599-601 (2020)

(Gorsuch, J. concurring); CASA de Maryland, Inc. v. Trump, 971

F.3d 220, 256 (4th Cir. 2020), vacated, rehearing en banc granted

by 981 F.3d 311 (4th Cir. 2020) .8

18 Samuel L. Bray, Multiple Chancellors: Reforming the National Injunction, 131
Harv. L. Rev. 417 (2017) but see Amanda Frost, In Defense of Nationwide
Injunctions, 93 N.¥.U. L. Rev. 1065 (2018); Suzette M. Malveaux, Class Actions,
Civil Rights, and the National Injunction, 131 Harv. L. Rev. F. 56 (2017).

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And, there is much to be said for those criticisms, in some
cases, but it is also true that:

Congress has already created an avenue by which a group
of litigants that share a common interest can obtain an
injunction protecting the entire group—a class-action
pursuant to Federal Rule of Civil Procedure 23(b) (2).
Quite obviously, class actions are the appropriate way
to resolve the small subset of cases in which an
injunction protecting only the plaintiff could prove too
narrow. [Citation omitted.] And, unlike nationwide
injunctions, Rule 23 injunctions have a clear analogue
in traditional equity practice. [Citation omitted].

The ready availability of nationwide injunctions is
difficult to square with the policy choices embodied in
Rule 23. Only those who can satisfy the rigorous
requirements Congress imposed for class certification
are eligible to avail themselves of Rule 23 injunctions.
But nationwide injunctions allow plaintiffs to obtain
the benefits of class-wide relief without ever
satisfying these criteria. [Citation omitted.] This
makes no sense. Indeed, as the Seventh Circuit aptly put
it, “fa] wrong done to plaintiff in the past does not
authorize prospective class-wide relief unless a class
has been certified. Why else bother with class actions?”
McKenzie v. City of Chicago, 118 F.3d 552, 555 (7th Cir.
1997).

CASA de Maryland, 871 F.3d at 259, vacated, rehearing en banc

granted by 981 F.3d 311 (4th Cir. 2020) (emphasis added).
Here, Plaintiffs have sought class certification under the

rule cited in CASA de Maryland. As that thoughtful decision makes

quite clear, the possibility of injunctive relief under Rule
23(b) (2) does not foreclose class certification under that rule
(even a nationwide class) if the requisites of Rule 23(a) and Rule
23(b) (2) are met.

Whether an injunction is appropriate form of relief will be
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addressed in deciding PLAINTIFFS’ MOTION FOR DECLARATORY JUDGMENT
AND INJUNCTION (ECF No. 57). But the necessity to address that
issue does not foreclose a certification of a nationwide class
under Rule 23(b) (2).
5. The Scope of the Class

Plaintiffs have shown that a nationwide class is appropriate
because the Government’s conduct (in enacting and enforcing the
statutory and regulatory regime at issue) applies generally to all
18-to-21-year-old citizens who are not otherwise disabled from
purchasing handguns from FFLs. The Government has not refuted the
scope of its conduct.19 Where, as here, the statutory and regulatory
regime (the Government's conduct) unconstitutionally restricts the
rights of every person in the class in exactly the same way, it is
appropriate that to include in the class all of those whose rights
are so affected if either a single order of injunction or
declaratory relief will redress the constitutional wrong. In other
words, in the circumstances presented on this record, “unitary
adjudication is not only preferable, but it is also essential, “2°
where the requirements of Rule 23(a) and (b)(2) are satisfied.

And, here they are.

18 The Government's “may not want to buy,” “may not oppose gun sales” to those
in the age group, and “may get a handgun as a gift” arguments do not affect the
scope of the challenged conduct.

20 2 Newberg and Rubenstein, § 4:26.
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The Government's principal position is that the class should
be the named Plaintiffs. But, that just ignores Rule 23(b) (2) and
the decisional law that governs its applicability.

The Government’s other basis for opposing a nationwide class
is that certification of such a class will foreclose the ability
of other courts to weigh in on the issue and that, in turn, will
thwart development of the law. The argument is based on the
assumption that certification of a nationwide class equates to the
issuance of a nationwide injunction. As explained above, those are
two different questions. And, whether an injunction, nationwide or
otherwise, will be dealt with in a separate opinion.

Whatever may be the circumstances in other cases,
certification of a nationwide class certainly will not curtail
judicial discourse on the Second Amendment issue that the case
presents because there are several pending cases in which several

other courts will express their views.?1_ The pending cases that

21 Brown v. Bureau of Alcohol, Tobacco, Firearms and Explosives, No. 1:22-cv-80
(N.D. W. Va. filed Aug. 30, 2022) (pending case concerning the same legal regime
at issue here); Reese v. ATF, NO. 6:20-CV-01438, 2022 WL 17859138 (W.D. La.
Dec. 21, 2022), appeal docketed, No. 23-30033 (Sth Cir. Jan. 10, 2023) (same);
see also Firearms Policy Coalition v. McCraw, 623 F.Supp.3d 740, appeal
dismissed per stipulation, No. 22-10898, 2022 WL 19730492 (5th Cir. Dec. 21,
2022) (concerning a corollary state age-based restriction); Worth v. Harrington,
No. 21-cv-1348, 2023 WL 2745673, (D. Minn. March 31, 2023), appealed docketed,
No. 23-2248 (8th Cir. May 22, 2023) (same); National Rifle Association v. Bondi,
61 F.4th 1317 (11th Cir. 2023), vacated by granting of reh’rg en banc, 72 F.4th
1346 (llth Cir. 2023) (same).

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involve the federal statutory and regulatory regime at issue in
this case will be excluded from the class certified here.

That brings the analysis back to Rule 23(b)(2) which this
case fits and which, as explained above, calls for a nationwide

class. Califano, 442 U.S. at 702 (approving nationwide classes).

CONCLUSION
For foregoing reasons, the requirements of Rule 23(a) and
Rule 23(b) (2) are satisfied. Therefore, PLAINTIFFS’ MOTION FOR
CLASS CERTIFICATION (ECF No. 56) will be granted. The certified
class will be:

Natural persons and citizens of the United States of
America who have attained the age of eighteen but who
are not yet twenty-one and who have not been convicted
of a felony, who are not fugitives from justice, have
not been discharged from the Armed Forces under
dishonorable conditions, are not unlawful users of or
addicted to any controlled substances, have not been
adjudicated as mental defectives or committed to a
mental institution, are not on parole or probation, are
not under indictment or restraint, and are not
plaintiffs in the pending cases of Brown_v. Bureau of
Alcohol, Tobacco, Firearms and Explosives, No. 1:22-cv-
80 (N.D. W. Va. filed Aug. 30, 2022); Reese v. ATF, NO.
6:20-CV-01438, 2022 WL 17859138 (W.D. La. Dec. 21,
2022), appeal docketed, No. 23-30033 (5th Cir. Jan. 10,
2023).

It is SO ORDERED.

at (EL?

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: August 30, 2023

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